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UNITED STATES DISTRICT COURT                                                 10/20/2020
SOUTHERN DISTRICT OF NEW YORK

 CHAIM FREUND,

                                   Plaintiff,
                                                                 1:20-cv-04419 (ALC)
                       -against-
                                                                 Order
 EQUIFAX INFORMATION SERVICES,
 LLC, ET AL.,

                                   Defendants.

ANDREW L. CARTER, JR., United States District Judge:

        On June 9, 2020, Plaintiff Chaim Freund filed a complaint against Defendants Equifax

Information Services, LLC, Experian Information Solutions, Inc. and American Express National

Bank. ECF No. 1. On July 31, 2020, Plaintiff filed a notice of settlement with Defendant Equifax

Information Services, LLC, and the case was discontinued as to that Defendant on August 7, 2020.

ECF Nos. 15, 16. Defendant American Express filed its answer on August 17, 2020, ECF No. 18,

and a motion to compel arbitration and stay the action on August 31, 2020, ECF No. 19. Defendant

Experian Information Solutions, Inc. filed its answer on October 19, 2020. ECF No. 27. Both

Defendants raise various affirmative defenses in their respective answers, including failure to state a

claim. The parties should submit a joint status report by November 3, 2020 providing details

regarding how the parties would like to proceed with the litigation.

SO ORDERED.

Dated: October 20, 2020                                 ___________________________________
       New York, New York                                    ANDREW L. CARTER, JR.
                                                             United States District Judge
